                                                    Case 18-10135-KKS          Doc 46     Filed 01/30/19         Page 1 of 5

                                                                                   Form 1                                                                              Page: 1

                                                            Individual Estate Property Record and Report
                                                                             Asset Cases
Case Number:         18-10135GVL1 KKS                                                        Trustee: (290820)           Theresa M. Bender, Trustee
Case Name:           GOODRICH, BARBARA ELLEN                                                 Filed (f) or Converted (c): 05/24/18 (f)
                                                                                             §341(a) Meeting Date:       06/27/18
Period Ending:       12/31/18                                                                Claims Bar Date:            10/23/18

                                1                                         2                         3                          4                  5                    6

                       Asset Description                               Petition/            Estimated Net Value             Property         Sale/Funds           Asset Fully
            (Scheduled And Unscheduled (u) Property)                 Unscheduled       (Value Determined By Trustee,       Abandoned         Received by       Administered (FA)/
                                                                        Values            Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate        Gross Value of
Ref. #                                                                                        and Other Costs)                                                 Remaining Assets

 1       23932 NW 188th Avenue, High Springs, FL 32643-00              133,200.00                           0.00                                        0.00                  FA
           Imported from original petition Doc# 1

 2       1090 Myrtle Drive, Santee, SC 29142-0000, Orange                63,431.00                          0.00                                      216.00            7,284.00
           Imported from original petition Doc# 1

 3       Checking: Ameris Bank 3145                                           114.00                      114.00                                       90.75                23.25
          Imported from original petition Doc# 1

 4       Sofa, table & chairs, 2 beds, 2 dressers, 2 nigh                 1,075.00                         75.00                                       59.70                15.30
          Imported from original petition Doc# 1
 5       Television, computer                                                 325.00                      325.00                                      258.72                66.28
          Imported from original petition Doc# 1

 6       Clothes                                                               50.00                       50.00                                       39.81                10.19
           Imported from original petition Doc# 1

 7       2 rings, 2 watches, earings, 2 chains                                250.00                      250.00                                      199.02                50.98
           Imported from original petition Doc# 1

 8       403(b): Lincoln Financial                                       66,103.00                          0.00                                        0.00                  FA
           Imported from original petition Doc# 1

 9       2012 Kia Sedona LX, 103,000 miles, VIN: KNDMG4C7                 3,760.00                          0.00                                        0.00                  FA
           Imported from original petition Doc# 1

10       2011 Harley Davidson Heritage Softail, 6200 mile                 7,450.00                        485.00              OA                        0.00                  FA
           Imported from original petition Doc# 1

11       2 dogs                                                                50.00                       50.00                                        0.00                50.00
           Imported from original petition Doc# 1



                                                                                                                                             Printed: 01/30/2019 10:13 AM   V.14.50
                                                 Case 18-10135-KKS             Doc 46    Filed 01/30/19         Page 2 of 5

                                                                                    Form 1                                                                            Page: 2

                                                       Individual Estate Property Record and Report
                                                                        Asset Cases
Case Number:        18-10135GVL1 KKS                                                        Trustee: (290820)           Theresa M. Bender, Trustee
Case Name:          GOODRICH, BARBARA ELLEN                                                 Filed (f) or Converted (c): 05/24/18 (f)
                                                                                            §341(a) Meeting Date:       06/27/18
Period Ending:      12/31/18                                                                Claims Bar Date:            10/23/18

                               1                                           2                       3                          4                  5                    6

                       Asset Description                                Petition/          Estimated Net Value             Property         Sale/Funds          Asset Fully
            (Scheduled And Unscheduled (u) Property)                  Unscheduled     (Value Determined By Trustee,       Abandoned         Received by      Administered (FA)/
                                                                         Values          Less Liens, Exemptions,      OA=§554(a) abandon.    the Estate       Gross Value of
Ref. #                                                                                       and Other Costs)                                                Remaining Assets

11       Assets         Totals (Excluding unknown values)              $275,808.00                     $1,349.00                                  $864.00             $7,500.00


     Major Activities Affecting Case Closing:
             1/28/19-REVIEWED FOR IR
             11/21/18-CLAIMS IMPORT
             8/17/18-NOIS FILED
             8/9/18-EMAIL PN TO ATTY

             7/16/18-SIGNED DOCS FOR BK GLOBAL TO PURSUE SALE/AUCTION

             EQUITY IN PERSONAL PPTY:
               HH GOODS $75
               ELECTRONICS $325
               CLOTHING $50
              JEWELRY $250
               2 DOGS $50
               BANK ACCT $114
             SUB-TOTAL: $864.00
             4 payments of $216.00

     Initial Projected Date Of Final Report (TFR): October 30, 2019                     Current Projected Date Of Final Report (TFR): October 30, 2019




                 January 29, 2019                                                       /s/ Theresa M. Bender, Trustee
          __________________________                                                    _________________________________________________________________
                       Date                                                             Theresa M. Bender, Trustee

                                                                                                                                            Printed: 01/30/2019 10:13 AM   V.14.50
                                                Case 18-10135-KKS         Doc 46      Filed 01/30/19       Page 3 of 5

                                                                             Form 2                                                                                     Page: 1
                                                         Cash Receipts And Disbursements Record
Case Number:         18-10135GVL1 KKS                                                            Trustee:          Theresa M. Bender, Trustee (290820)
Case Name:           GOODRICH, BARBARA ELLEN                                                     Bank Name:        Rabobank, N.A.
                                                                                                 Account:          ******7566 - Checking Account
Taxpayer ID #:       **-***7310                                                                  Blanket Bond:     $7,710,000.00 (per case limit)
Period Ending:       12/31/18                                                                    Separate Bond:    N/A

   1           2                           3                                   4                                         5                    6                     7
 Trans.     {Ref #} /                                                                                                 Receipts         Disbursements          Checking
  Date      Check #            Paid To / Received From             Description of Transaction           T-Code           $                   $             Account Balance
09/14/18                  GOODRICH, B                      Acct #1; Payment #1; PAYMENT PURSUANT                             216.00                                      216.00
                                                           TO DOCKET 27
               {3}                                           Acct #1; Payment #1;               30.25   1129-000                                                         216.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
               {4}                                           Acct #1; Payment #1;               19.90   1129-000                                                         216.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
               {5}                                           Acct #1; Payment #1;               86.24   1129-000                                                         216.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
               {6}                                           Acct #1; Payment #1;               13.27   1129-000                                                         216.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
               {7}                                           Acct #1; Payment #1;               66.34   1129-000                                                         216.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
09/28/18                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                    5.00                 211.00
10/14/18                  GOODRICH, BARBARA                Acct #1; Payment #2; PAYMENT PURSUANT                             216.00                                      427.00
                                                           TO DOCKET 27
               {3}                                           Acct #1; Payment #2;               30.25   1129-000                                                         427.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
               {4}                                           Acct #1; Payment #2;               19.90   1129-000                                                         427.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
               {5}                                           Acct #1; Payment #2;               86.24   1129-000                                                         427.00
                                                             PAYMENT PURSUANT

                                                                                                   Subtotals :               $432.00               $5.00
  {} Asset reference(s)                                                                                                                  Printed: 01/30/2019 10:13 AM    V.14.50
                                                Case 18-10135-KKS         Doc 46      Filed 01/30/19       Page 4 of 5

                                                                             Form 2                                                                                     Page: 2
                                                         Cash Receipts And Disbursements Record
Case Number:         18-10135GVL1 KKS                                                            Trustee:          Theresa M. Bender, Trustee (290820)
Case Name:           GOODRICH, BARBARA ELLEN                                                     Bank Name:        Rabobank, N.A.
                                                                                                 Account:          ******7566 - Checking Account
Taxpayer ID #:       **-***7310                                                                  Blanket Bond:     $7,710,000.00 (per case limit)
Period Ending:       12/31/18                                                                    Separate Bond:    N/A

   1           2                           3                                   4                                         5                    6                     7
 Trans.     {Ref #} /                                                                                                 Receipts         Disbursements          Checking
  Date      Check #            Paid To / Received From             Description of Transaction           T-Code           $                   $             Account Balance
                                                             TO DOCKET 27
               {6}                                           Acct #1; Payment #2;               13.27   1129-000                                                         427.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
               {7}                                           Acct #1; Payment #2;               66.34   1129-000                                                         427.00
                                                             PAYMENT PURSUANT
                                                             TO DOCKET 27
10/31/18                  Rabobank, N.A.                   Bank and Technology Services Fee             2600-000                                    5.00                 422.00
11/23/18                  GOODRICH, BARBARA                Acct #1; Payment #3; PAYMENT PER DOC 27                           216.00                                      638.00
               {3}                                           Acct #1; Payment #3;               30.25   1129-000                                                         638.00
                                                             PAYMENT PER DOC 27
               {4}                                           Acct #1; Payment #3;               19.90   1129-000                                                         638.00
                                                             PAYMENT PER DOC 27
               {5}                                           Acct #1; Payment #3;               86.24   1129-000                                                         638.00
                                                             PAYMENT PER DOC 27
               {6}                                           Acct #1; Payment #3;               13.27   1129-000                                                         638.00
                                                             PAYMENT PER DOC 27
               {7}                                           Acct #1; Payment #3;               66.34   1129-000                                                         638.00
                                                             PAYMENT PER DOC 27
12/19/18       {2}        GOODRICH                         PAYMENT PER DOC. 27                          1110-000             216.00                                      854.00




                                                                                                   Subtotals :               $432.00               $5.00
  {} Asset reference(s)                                                                                                                  Printed: 01/30/2019 10:13 AM    V.14.50
                                               Case 18-10135-KKS    Doc 46      Filed 01/30/19       Page 5 of 5

                                                                       Form 2                                                                                     Page: 3
                                                     Cash Receipts And Disbursements Record
Case Number:       18-10135GVL1 KKS                                                         Trustee:         Theresa M. Bender, Trustee (290820)
Case Name:         GOODRICH, BARBARA ELLEN                                                  Bank Name:       Rabobank, N.A.
                                                                                            Account:         ******7566 - Checking Account
Taxpayer ID #:     **-***7310                                                               Blanket Bond:    $7,710,000.00 (per case limit)
Period Ending:     12/31/18                                                                 Separate Bond:   N/A

  1           2                        3                                4                                          5                    6                     7
Trans.     {Ref #} /                                                                                            Receipts         Disbursements          Checking
 Date      Check #         Paid To / Received From           Description of Transaction           T-Code           $                   $             Account Balance
                                                                    ACCOUNT TOTALS                                      864.00               10.00                $854.00
                                                                        Less: Bank Transfers                              0.00                0.00
                                                                    Subtotal                                            864.00               10.00
                                                                        Less: Payments to Debtors                                             0.00
                                                                    NET Receipts / Disbursements                       $864.00              $10.00


                            Net Receipts :          864.00
                                               ————————                                                             Net               Net                   Account
                                Net Estate :       $864.00          TOTAL - ALL ACCOUNTS                          Receipts       Disbursements              Balances
                                                                    Checking # ******7566                               864.00               10.00                 854.00

                                                                                                                       $864.00              $10.00                $854.00




 {} Asset reference(s)                                                                                                             Printed: 01/30/2019 10:13 AM    V.14.50
